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14
                           UNITED STATES DISTRICT COURT
15
                         EASTERN DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                    Case No. 2:19-CR-00107-KJM
17
                  Plaintiff,                      DEFENSE PROFFER ON
18                                                IMPEACHMENT CROSS-
           v.                                     EXAMINATION OF OFFICER
19                                                KEVIN LEE
     RONALD YANDELL,
20                                                [UNDER SEAL]
                  Defendant.
21                                                Chief Judge Kimberly J. Mueller,
                                                  United States District Court
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            At 5:38 p.m. on March 6, 2024, the government informed the defense that Officer
1
2    Kevin Lee, one of its planned witnesses for March 7, had been the subject of disciplinary

3    proceedings potentially relevant to his testimony. Per the government’s email to the

4    defense:

5           According to Officer Lee, he was disciplined in 2021 for “failure to report”
            in relation to a text thread that he was part of involving Officers Daniel
6           Garland, Marcus Jordan, Paul Bettencourt, Martin Fong, Simon Ramirez,
            and Valentino Rodriguez. Officer Lee did not participate in the text message
7
            thread, but he saw other text messages on the thread and did not report the
8           messages. As a result of the discipline, his pay was reduced by 5% for 6
            months. There were no findings in the proceedings that he was dishonest.
9
     The government has informed the defense that it “will oppose any attempts to cross-
10
     examine regarding this incident.”
11
            Given the government’s late (and brief) disclosure of these potentially-significant
12
     disciplinary proceedings—and to permit full defense investigation of those proceedings
13
     and the underlying misconduct that led to them—counsel for Mr. Yandell intends to ask
14
     the Court to schedule Officer Lee’s cross-examination specifically or his testimony more
15
     generally to occur later in the government’s case. 1
16
17          Whenever Officer Lee is cross-examined, however, counsel for Mr. Yandell

18   maintains that these disciplinary proceedings are the proper subject of impeachment cross-

19   examination. These proceedings go to both: (1) Mr. Yandell’s third-party culpability

20   defense: that CDCR officials helped orchestrate Gary Littrell murdering Hugo Pinell; and

21   (2) witness bias: that this specific witness would not report CDCR misconduct relevant to

22   this case.
23
24
25
26
     1
       After the government disclosed the existence of these disciplinary proceedings less than
     24 hours before Officer Lee was scheduled to testify, counsel for Mr. Yandell and Mr.
27   Sylvester asked the government to move Officer Lee to later in its case “so that [the
     defense] can properly investigate these disciplinary proceedings and obtain documents on
28   the subject from CDCR, as appropriate.” The government declined.
                                                  3
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           In particular (and to elucidate these points), counsel for Mr. Yandell would at
1
2    present cross-examine Officer Lee on several issues concerning the disciplinary

3    proceedings and relevant here, including:

4        • That one of the people on the text thread Officer Lee was disciplined for
           (Officer Valentino Rodriguez) was a whistleblower at CSP-Sac who had
5          reported CDCR misconduct contemporaneous and analogous to the events
           in this case, including:
6
               o That CDCR officers injured an inmate while restraining him;
7
               o That CDCR officers planted drugs on inmates; and
8
               o That CDCR officers planted weapons on inmates.
9        • That, around and after Officer Rodriguez reported this misconduct, he was
10         harassed by other CDCR officers on the text message thread Officer Lee
           was on, including:
11
               o That other CDCR officers said that Officer Rodriguez’s newlywed
12               wife was cheating on him with a black man (using racial slurs on the
                 subject);
13
               o That other CDCR officers called Officer Rodriguez homophobic
14               slurs; and
15             o That, after Officer Rodriguez sent a picture of a margarita, CDCR
                 officers “joked” that its contents were semen.
16
         • That Officer Lee did not report these harassing text messages to any
17         authorities; and
18       • That after receiving the text messages, Officer Rodriguez overdosed and
           committed suicide.
19
     Counsel for Mr. Yandell has a good-faith basis for these questions. Given the government’s
20
     late (and brief) disclosure, the defense lacks (1) any part of the relevant message thread
21
     Officer Lee was on; and (2) any documentation on the disciplinary proceedings against
22
     Officer Lee that resulted. But two newspaper articles—from the SACRAMENTO BEE (see
23
     Ex. A) and the ASSOCIATED PRESS (see Ex. B)—convey the substance of the
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25   communications identified above.

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     Dated this March 7, 2024.
1
2                                              Respectfully submitted,

3                                              Rene L. Valladares
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5                                              /s/ Brian D. Pugh
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                                               /s/ Sean A. McClelland
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                                               STEVEN G. KALAR
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        EXHIBIT A




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        EXHIBIT B




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